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                       EXHIBIT “AA”
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   From: Patrick Orlando <porlando@beneinvest.com>
   Date: August 16, 2021 at 1:54:41 PM PDT
   To: "Brian C. Shevland" <shevland@yahoo.com>
   Subject: RE: Digital World Funding Closed


   Brian,

   Just tried calling you. I have been in the office today and reviewed the calculations Horacio sent. They
   accurately reflect your economics based on the closing calculations after the raise was closed.

   I also reviewed this email chain and our other communications, and I don’t see any confusion. As stated
   by Alex, there is a strong probability the IPO is smaller and that would dictate sending some funds back
   to investors who already signed subscription agreements and funded, which renders us unable to accept
   any additional investments.

   My team has been managing this raise and, after discussing it with them, you are not alone as several
   potential investors indicated that they were planning to invest but took too long to complete their
   investments. The investors that completed their subscription agreements and actually funded on time
   took up the supply of available investment. We have been able to accommodate some of the excess
   demand in the IPO, however, in order to invest in the IPO, investors must coordinate with the
   underwriter and fund expeditiously. Those that do not fund prior to the IPO will not be able to
   participate.

   I know you are swamped at your conference but if you want to get into the IPO you need to move to not
   miss it.

   Patrick



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   From: Horacio Cruz <hcruz@beneinvest.com>
   Sent: Wednesday, August 11, 2021 12:37 PM
   To: Alex Monje <amonje@beneinvest.com>; Brian C. Shevland <shevland@yahoo.com>; Patrick Orlando
   <porlando@beneinvest.com>; Natalie Salume <nsalume@beneinvest.com>
   Subject: Re: Digital World Funding Closed

   Hi Brian,

   Please find attached our preliminary calculations based on the agreement.

   Final calculations will be sent after the overallotment.

   Thanks,
   Horacio

   Horacio Cruz

   CFO




   M: 305.987.6461

   E. hcruz@beneinvest.com

   W: www.beneinvest.com




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   received this email in error, please notify us immediately by reply email and delete this message
   from your inbox. Thank you.




   From: Alex Monje <amonje@beneinvest.com>
   Sent: Wednesday, August 11, 2021 12:23 PM
   To: Brian C. Shevland <shevland@yahoo.com>; Patrick Orlando <porlando@beneinvest.com>; Natalie
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   Salume <nsalume@beneinvest.com>
   Cc: Horacio Cruz <hcruz@beneinvest.com>
   Subject: Re: Digital World Funding Closed


   Hi Brian,



   For further clarification, the raise has been closed for some time now, the trust was fully
   funded early last week, escrows are cleared and closed, and no further investments are
   being accepted for ARCII/DWAC at the risk capital level. In fact, as I previously
   mentioned, we are having to return a portion of the risk capital investment and the
   many requests for additional investment are being accommodated at the IPO level
   and/or in our next efforts. We cannot accommodate requests to invest post closing of
   the risk capital raise as this would be unfair to the investors that funded on time that are
   already being refunded portions of their investments. Our raise was open for a long
   time and it was communicated to investors that demand was very strong. Those that
   acted and funded early are in the best position, along with your investors whose funds
   cannot be returned.




   Please promptly advise if you would like to direct your proposed investment to the
   DWAC IPO.



   I have reviewed your emails with Pat regarding the share grant and the deal was that
   you would raise funds and the final average of the raise would be calculated. Based on
   that calculation, you and Patrick would spilt evenly any economics above $3. Your
   portion would then be able to be converted to shares at your election at $3 per share.
   Horacio, who is responsible for calculating your grant, is performing the calculation and
   is sending that shortly. You may then advise how much of the credit you wish to
   convert.



   If you have any additional questions, please let us know. Thank you.



   Best regards,


   Alexander J. Monje
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   Partner, Chief Legal Officer




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   From: Brian C. Shevland <shevland@yahoo.com>
   Sent: Wednesday, August 11, 2021 8:20 AM
   To: Patrick Orlando; Natalie Salume; Alex Monje
   Cc: Horacio Cruz
   Subject: Re: Digital World Funding Closed

   Alex,
   In all sincerity I am not sure if I understand this message. Are you saying that you are
   going to honor the agreement and therefore the calculations on the spreadsheet which I
   provided? If so, do I need to send money or submit docs before the IPO? I can send a
   wire today. There are no calculations that Horacio should need to perform, the math is
   very simple, and the average share price of the capital I introduced and the investment
   that I make will average $3/share as discussed. The spreadsheet I provided already
   performs the calculation for you and it is accurate.

   Secondarily, regarding the size of the SPAC, the S1 which you sent to me still indicates
   a $300M SPAC. What am I missing? What has changed? Is there a reason that these
   changes are not being communicated to the Directors of the SPAC?

   I anxiously await your response.

   Sincerely,
   Brian


   On Tuesday, August 10, 2021, 12:50:59 PM GMT-4, Alex Monje <amonje@beneinvest.com> wrote:


   Hi Brian,

   Apologies for the delayed response. As you can imagine, getting this IPO done in this market is
   taking up all our bandwidth and then some.

   Concerning sponsor-level investments, as of about 3 weeks ago, we are overfunded and cannot
   accept any additional investments. In fact, we have already sent approximately $1MM back to
   investors and quite a few have elected to roll that investment over into our next SPAC or
   shifted to participating in the IPO, and we will likely still have to return substantial additional
   funds. Do not worry, per our agreement, your clients are the only set that will not have any of
   their investment returned to them. As you will see reflected on the amended S-1 filed this
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   morning (link), due to current market conditions, the SPAC will very likely come out smaller
   than the anticipated $300MM and an incentive of 1,650,000 founder shares (all coming out of
   the company/Patrick) had to be provided to anchor investors to get this deal done. That's just
   the reality of the current market.

   Concerning your share grant on DWAC, Horacio (copied) is working on the calculations which
   will be finalized after IPO. To be clear, your share grant will remain the same as the company is
   the one absorbing the entire loss of having to downsize the SPAC and providing the large
   incentive to anchors to get this deal done.

   Please let us know if you want to participate in the IPO as that paperwork needs to be in asap.
   Thank you.

   Best regards,

   Alexander J. Monje
   Partner, Chief Legal Officer




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   From: Brian C. Shevland <shevland@yahoo.com>
   Sent: Tuesday, August 10, 2021 12:13 PM
   To: Patrick Orlando <porlando@beneinvest.com>; Natalie Salume <nsalume@beneinvest.com>; Alex
   Monje <amonje@beneinvest.com>
   Subject: Re: Digital World Funding Closed

   Alexander and Patrick,
   I certainly understand how busy you are, I put in hundreds of hours as well to make this
   a success. If you can simply confirm for me that I will be able to make an investment
   according to the terms discussed and the calculations provided in the spreadsheet I can
   be patient. Are we in agreement?
   Sincerely,
   Brian


   On Monday, August 9, 2021, 08:13:37 PM GMT-4, Alex Monje <amonje@beneinvest.com> wrote:



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   Hi Brian,

   We’ve been on back to back conference calls and preparing for the IPO all day. We’ll be at it well into
   tonight as well as we need to price on Thursday. We’ll do our best to coordinate and get back to you
   tomorrow. Thanks.

   Best regards,

   Alexander J. Monje
   Partner, Chief Legal Officer




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   From: Brian Shevland <Shevland@yahoo.com>
   Sent: Monday, August 9, 2021 7:55 PM
   To: Patrick Orlando
   Cc: Alex Monje
   Subject: Re: Digital World Funding Closed

   Thank you Natalie. I never heard from Patrick or Alex today so hopefully we can put this to bed tomorrow.
   I will be around all day and look forward to having this completed as soon as possible.

   Sincerely,
   Brian

   Sent from my iPhone



            On Aug 9, 2021, at 1:02 PM, Patrick Orlando <porlando@beneinvest.com> wrote:


            Hi Brian,

            This is Natalie- I'm monitoring Patrick's emails.

            Patrick is currently traveling (in transit with limited Wi-Fi access) and along with
            Alex is working on the IPO. I have made Alex aware of your email and he will be
            reviewing and responding shortly. Thank you.


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         Best,
         Natalie on behalf of
         Patrick F. Orlando
         Founder and CEO
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         delete the document.

         From: Brian C. Shevland <shevland@yahoo.com>
         Sent: Monday, August 9, 2021 12:09 PM
         To: Patrick Orlando <porlando@beneinvest.com>; Patrick Orlando
         <porlando@beneinvest.com>
         Subject: Fw: Digital World Funding Closed

         Patrick,
         I assume the email below does not impact my personal investment into
         DWAC along the lines of our agreement, our communications last week,
         and the spreadsheet I sent you. I would feel a lot more comfortable if I can
         wire in my investment amount in today/tomorrow, and not worry that this
         slips through the cracks somehow. Are we in agreement on the $100,000
         investment amount and corresponding shares? Let me know as soon as
         possible.
         Sincerely,
         Brian

         ----- Forwarded Message -----
         From: Alex Cano <acano@beneinvest.com>
         To: Shevland@yahoo.com <shevland@yahoo.com>
         Cc: Patrick Orlando <porlando@beneinvest.com>; Alex Monje
         <amonje@beneinvest.com>; Horacio Cruz <hcruz@beneinvest.com>; Natalie Salume
         <nsalume@beneinvest.com>; Reilly. May <rmay@beneinvest.com>
         Sent: Monday, August 9, 2021, 09:58:06 AM GMT-4
         Subject: Digital World Funding Closed

         Dear Valued Consultant,

         We are writing to inform you that as of last Thursday, August 5th, Digital World
         Acquisition Corp. was fully funded, and therefore, our funding effort for ARCII is now
         closed.

         We are also happy to inform you that fundraising for future SPAC efforts has already
         commenced, and we can discuss directing any overflow interest towards these efforts.
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         We want to thank you, again, for your interest in Digital World Acquisition Corp.

         Thank you and best regards,

         Alex Cano
         Chief Operating Officer




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